O2/07/2020 FRI 11:00 FAX 714 934 2675 WjOo1/ O07
Case 1:17-cr-00101-LEK Document 874 Filed 02/07/20 Pagelof7 PagelD#: 7545

PROPERTY RECORDS

HUGH NGUYEN BIRTH AND GEATH RECORDS
CCLERK-RECORDER MARAIAGE LICENSES/RECORDS
PASSPORTS

FICTITIQUS BUSINESS NAMES
HOTARY REGISTRATION
ORANGE COUNTY ARCHIVES

 

United States District Courthouse 2/6/20
District of Hawaii

Courtroom of the Honorable Leslie E. Kobayashi

Fax (808) 541-1386

Dear Customer,

Thank you for your inquiry to the Orange County Clerk-Recorder Department. Unfortunately,
we are unable to assist you in searching for specific records by property address, parcel number
or property owner’s name.

To research recorded documents, please know you can search our Grantor/Grantee Index on our
website at www.ocrecorder.com, which provides a listing of real property documents recorded in
Orange County from 1982 to present. To research documents recorded prior to 1982 or to view
any documents, you can visit our main office in downtown Santa Ana.

To obtain copies of documents, you can visit our office or submit a written request that includes
the necessary document number(s). The fees for copies are $1.00 per page plus $1.00 for
certification per complete document.

If you have any questions, please contact us at (714) 834-2500.

Thank you and we look forward to serving you.
Hugh Nguyen, Orange County Clerk-Recorder

Mary Jack
Deputy Clerk-Recorder

Remittance enclosed: Checknumber N/A in the amount of $0.00

HORTH COUNTY BRANCH OFFICE ORANGE COUNTY OLO ORANGE COUNTY SOUTH COUNTY BRANCH OFFICE
WELLS FARGO BUILDING COUNTY ADMINISTRATION SOUTH COURTHOUSE LAGUNA HILLS CIVIC CENTER
222 $, HARBOR BLYD,, STE 110 401 NM. ROSS STREET 211 W. SANTA ANA BLVD. ROOM 20F 24031 EL TOR® ROAD, SUITE 1450
ANAHEIM, CALIFORNIA 97805 SANTA ANA, CALIFORNIA P2701 SANTA ANA, CALIFORNIA #2701 LAGUNA FILLS, CALIFORMIA 92653

(714) 834-2400) @ FAR (714) 834-9675 # WWWLOCHECORDER.COM © WWW.OCARCHIVES.COM
O2/07/2020 FRI 11:00 FAX 714 934 2675 WjOo2z/007
Case 1:17-cr-00101-LEK Document 874 Filed 02/07/20 Page2of7 PagelD#: 7546

RECEIVEL
20 FEB=4 AM IO: OL

Peg sshihle SER eat
LARS ROBERT ISAACSON #5314 PPLE Ue
(003 Bishop Street, Suite 2700

Honolulu, fawaii 96813

‘Telephone: (808) 497-3811

Facsimile: (866) 616-2132

[-Mail: Hawaii.delender@earthlink.net

Standby Counsel for Defendant Anthony 'T, Williams
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF LA WATI
UNITED STATES OF AMERICA, CR. NO. 17-00101 LEK
ORDER PERMITTING ISSUANCE OF
SUBPOENA DUCES THCUM,

PAYMENT OF WITNESS FEES, AND

)
)
Plaintiff )
}
) SEALING OF ALL PAPERS; EXHIBIT
)
)
)
)
)

VS.
ANTHONY 'T. WILLAMS, “AP

Defendant. {UNDER SEAL

 

 

ORDER PERMITTING ISSUANCE Of SUBPOENA DUCES TECUM,
PAYMENT OF WITNESS FEES, AND SEALING OF ALL PAPERS

The defendant, having moved this Court by ex parte application under
Ned. R. Crim. P, 17(¢) for an order issuing 4 subpoena duces tecum, and the Court

being satisfied that the defendant is financially unable to pay for the costs of the
02/07/2020 FRI 11:01 FAR 714d 8342 2675 003/007
Case 1:17-cr-00101-LEK Document 874 Filed 02/07/20 Page3of7 PagelD#: 7547

witness and associated costs for the production of the items herein subpoenaed, and
that the witness and items subpoenaed are necessary to an adequate defense,
NOW, THEREFORE, GOOD CAUSE APPEARING, IT IS HEREBY
ORDERED that a subpoena duces tecum be issued to:
Custodian of Records
Orange County Clerk-Recorder
County Administration South Building
601 N. Ross Street
Santa Ana, CA 92701
Said witness is to produce the evidentiary documents, as described on Exhibit “A”
attached hereto, in his/her possession and/or control.
IT IS FURTHER ORDERED that the subpoenaed individual shall

cause the subpoenaed documents to be delivered to the United States District
Courthouse, District of Hawaii, to the Courtroom of the Honorable Leslie E.
Kobayashi or Judge Kobayashi’s Chambers, by February 17, 2020, either in
person, by mail, or by fax (808-541-1386),

IT IS FURTHER ORDERED that the fees of said witness and
associated costs for the production of the documents herein subpoenaed be paid in
the same manner in which similar costs and fees are paid in the case of a witness

subpoenaed on behalf of the government, so that said witness may provide the
Q2/07/2020 FRI 11:01 FAX 714 934 2675 Woda / 007
Case 1:17-cr-00101-LEK Document 874 Filed 02/07/20 Page4of7 PagelD#: 7548

defense with certified copies of the above-described documents for the preparation
of the defense at the trial in this case.

IT 18 FURTHER ORDERED that the Clerk of the District Court for
the District of Hawaii shall seal this order and the related ex parte application filed
in this case from public view, except that a copy shall be given to defense counsel
only.

DATED: Honolulu, Hawaii, JAN 28 2020

LESLIE E. KOBAYASHI

LESLIE KOBAYASHI
United States District Court Judge
District of Hawaii

 
O2/07/2020 FRI 11:01 FAR 714d 834 2675 WO05/007
Case 1:17-cr-00101-LEK Document 874 Filed 02/07/20 Page5of7 PagelD#: 7549

EXHIBIT “A”

Records pertaining to Anthony Troy Williams (DOB 8/9/17), defendant in this

cause, including:

A. All documents filed by Anthony Williams or Common Law Office of
America.

B. All mortgages filed by Anthony Williams or Mortgage Enterprise
Investments,
O2/07/2020 FRI 11:01 FAX 714 834 2675

QO 7007
Case 1:17-cr-00101-LEK Document 874 Filed 02/07/20 Page6éof7 PagelD #: 7550

 

UNITED STATES DISTRICT COURT

For the
District of Hawail

 

 

Uniled States of America, j mB
Plainulff, )  & “7
Cr. No. 17-00701 LEK anh | “
vs te IT
: Bo
- _ ny
Anthony T. Williams, ) “ t"
" ren ao alt
Defendant. | eT
eusenaer int 2 I, a =
ow
SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION OR OBJECTS vt Fe

IN A CRIMINAL CASE

To: Custodian ef Records, Orange County Glerk-Recarder, County Administration South Biiding,
601 8, Ross Streel, Santa Ana, CA 92701

YOU ARE COMMANDED to produce at Lhe Une, dale, and place set forth below the following
documents, electronically stored Information, or objects, and permit their inspection, copylng, lesting, or
sampling ofthe material:

hee attached lixhibit “A”

 

 

PLACE: — Cate and Time: February 17, 2020.
The Honorable Leslie Kobayashi No later than 4:30 p.m. H.5-T.
United States DistricL Court (Subpoenaed documents may be delivered either in

300 Ala Moana Boulevard person, by mail, or by fow (BOB-541-1386).
Itonalula, Hawaii 96850

 

 

 

 

 

(SEAL) 4

BATE: FEB 0 4 2020 ; ‘w

     

 

“iy ei Mi
ts iC ign q oF Clerk or Deputy Clerk
The name, address, e-mail, and telophe a por ofthe’ yn for Defendant Anthony T. Williams,

who requests Uils subpoena, are: Lars Robert Isaacson, 1003 Bishop Street, Sulte 2700, Wonotulu, Hawaii
96013,

Hawatidefender@ecarthiink.net, (808) 497-3011.
02/07/2020 FRI 11:01 FAR 714d 8342 2675 OO7/007
Case 1:17-cr-00101-LEK Document 874 Filed 02/07/20 Page 7of7 PagelD#: 7551

EXHIBIT “A”

Records pertaining to Anthony Troy Williams (DOB 8/9/17), defendant in this

cause, including:

A. All documents filed by Anthony Williams or Common Law Office of
America,

B. All mortgages filed by Anthony Williams or Mortgage Enterprise
Investments.
